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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION

BRIANNA D. BAKER, individually and              )
on behalf of others similarly situated,         )
                                                )
                Plaintiff                       ) FLSA COLLECTIVE ACTION
                                                ) UNDER 29 USC § 216(b)
        vs.                                     )
                                                ) CASE NO. 3:22-cv-35
MORGAN GRAHAM, INC. d/b/a                       )
AROUND THE CLOCK CARE,                          )
                                                )
                Defendant                       )

       PLAINTIFF’S FLSA COLLECTIVE ACTION COMPLAINT FOR DAMAGES

                                        I. INTRODUCTION

        Plaintiff Brianna D. Baker (“Baker”) brings her collective action lawsuit1 under the Fair

Labor Standards Act (“FLSA”) against her employer, Defendant Morgan Graham, Inc. d/b/a

Around the Clock Care (“Around the Clock Care”). Baker and her coworkers (home caregivers)

are working significant overtime hours (hours in excess of forty in a workweek) for Around the

Clock care, but are not being paid an overtime premium (one and one-half times the regular rate

of pay) by Around the Clock Care. Collectively, Baker and her coworkers are owed quite

substantial FLSA damages for unpaid overtime premiums and liquidated damages.

                                  II. FACTUAL ALLEGATIONS

        1.      Baker is a resident of the State of Indiana, and is domiciled in Evansville,

Vanderburgh County, Indiana.


        1
       Baker attaches an executed copy of her Notice of Consent form as an Exhibit, opting-in to this
FLSA collective action.


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       2.        Around the Clock Care is a client care company that lists the address of its

company headquarters on its website as 950A S. Kenmore Dr., Evansville, Vanderburgh County,

Indiana 47714.

       3.        Around the Clock Care hired Baker to work for its as an Attendant Caregiver on

or about March 9, 2022. Baker’s first day of work was March 13, 2022. At this moment, Baker

is still employed in that same position.

       4.        At hiring, Around the Clock Care promised to pay Baker at the rate of $11.25 per

hour for her work. Around the Clock Care has never, however, paid Baker at an overtime

premium rate (which would have been $16.875 per hour - one and one-half times her $11.25 per

hour regular rate) for hours Baker worked in excess of forty (40) in any work week.

       5.        During her first full work weeks, Baker has worked far more than 40 hours and up

to 60 or more hours in single work weeks. At all times, Around the Clock Care has failed and

refused to pay Baker at an overtime rate of pay (one and one-half times her regular rate of pay)

for hours she worked in excess of forty in a work week.

       6.        Baker has directly complained to a supervisor at Around the Clock Care that the

company failed to pay her overtime premium pay for her overtime work. One Around the Clock

Care supervisor directly told Baker that Around the Clock Care does not pay overtime and that

Baker would be paid her straight time rate (which is currently $11.25 per hour) for all of her

hours worked.

       7.        To provide a specific example, Baker has her Staff Payroll Sheet confirming that

Around the Clock Care pays overtime hours at straight time rates. For the week from March 14,

2022 to March 20, 2022, Baker worked at least 60.0 hours and was paid at a rate of $11.25 for all



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of the 60 hours. Around the Clock Care should have paid Baker gross wages of $787.50 (40

hours at $11.25 per hour plus 20 hours at $16.875 per hour), but Around the Clock Care paid

Baker only $676.00 gross for the week (the company does not account for this $1.00

discrepancy, but 60 hours at $11.25 per hour is $675.00). In this week alone, Around the Clock

Care underpaid Baker’s overtime by at least $111.50. With the FLSA’s presumed liquidated

damages, Around the Clock Care owes Baker $223.00 in damages for this one work week alone.

       8.      Consistent with the description in the paragraph above, Around the Clock Care

refused to pay overtime premium pay to Baker and her coworker caregivers and underpaid

many, many overtime hours of work for a significant period of time.

       9.      Around the Clock Care owes Baker and her coworker caregivers unpaid overtime

compensation and liquidated damages for many, many overtime hours each has worked from

March 2019 to the present. Around the Clock Care is a third party employer and Baker and her

coworker caregivers are non-exempt employees, entitled to overtime compensation under the

Fair Labor Standards Act.

       10.     Around the Clock Care has willfully, intentionally, knowingly and in bad faith

violated Baker and her coworker caregivers’ rights under the Fair Labor Standards Act. By way

of this Complaint, Baker is seeking all available damages, including, but not limited to, all

unpaid wages, all unpaid overtime compensation, all liquidated and/or statutory damages, plus

payment of her reasonable attorney’s fees, costs and expenses.

                              III. JURISDICTION AND VENUE

       11.     This Court has jurisdiction over the subject matter of this Complaint under 28

USC § 1331 and 29 USC § 201 et seq, as Baker raised federal questions of law.


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       12.     Venue is proper in this Court pursuant to 28 USC § 1391 because the unlawful

conduct alleged herein was committed in the Southern District of Indiana and, more specifically,

in and around Evansville, Vanderburgh County, Indiana..

                     IV. FLSA COLLECTIVE ACTION ALLEGATIONS

       13.     Baker incorporates herein by reference paragraphs 1 - 12 above.

       14.     This Complaint is brought as a collective action under the FLSA on behalf of

Baker and other current and former Around the Clock Care hourly-paid workers who were

similarly denied payment of wages and overtime compensation under Around the Clock Care’s

compensation scheme that failed to pay overtime premium rates of pay for overtime work

performed.

       15.     This action is filed as a collective action pursuant to Section 16(b) of the Fair

Labor Standards Act, 29 USC § 216(b), on behalf of Baker and all Around the Clock Care

current and former hourly-paid employees who were damaged by Around the Clock Care’s

compensation system which failed to pay overtime premium rates and resulted in unpaid or

underpaid overtime work. By virtue of the “collective action,” Baker represents the identical

and/or similar interests of former and current hourly-paid employees denied full overtime

compensation under the same circumstance. Baker anticipates that other Around the Clock Care

employees and former employees will opt in to the action.

       16.     The number of Around the Clock Care current and former employees who will be

members of this collective action is so great that joinder of all members is impractical. Instead,

Baker will pursue discovery to obtain the names of the other current and former Around the




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Clock Care employees who were paid denied overtime premium pay for overtime hours worked

in order to provide notice of the collective action, and to offer the opt-in opportunity.

       17.     Particularly with the types of overtime wage claims and practices at issue in this

case, there are questions of law and fact that are common to the entire collective group.

       18.     Baker’s claims are typical of the claims of the whole collective group of current

and former hourly-paid employees harmed by Around the Clock Care’s illegal overtime

calculation and payment practices.

       19.     Baker will act to fairly and adequately protect the interests of the entire collective

group of current and former Around the Clock Care hourly paid employees.

       20.     A collective action is superior to other available means for the fair and efficient

prosecution of these wage claims against Around the Clock Care. For example, to prove Around

the Clock Care’s illegal overtime practices, Baker and other members of this collective group

would seek in discovery records about all similarly situated current and former Around the

Clock Care hourly paid workers who were paid for overtime hours at straight time, rather than

overtime premium, rates of pay and who were similarly denied earned overtime compensation.

Individual lawsuits by the members of the collective group could lead to 1) inconsistent or

varying outcomes in the cases, 2) duplicitous discovery, or 3) competition for limited funds.

Further, as a practical matter, the first litigant to trial may achieve a result which would have

bearing on all of the other individuals in the group.

       21.     A determination regarding the “similarness” of those able to participate in the

collective action would also allow litigation of claims that may not otherwise be cost effective,

depending upon the amount of each individual group member’s damages. Particularly with the


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type of FLSA wage violations at issue in this litigation, some, if not most, of the individual

group members may not be aware of their rights to their wages under the FLSA, or may not,

because of financial means or experience, be in a position to seek the assistance of counsel to

commence individual litigation.

       22.     A collective action will result in an orderly and expeditious administration of the

group members’ claims, and economies of time, court resources, effort and expense, and

uniformity of decisions will be assured.

      V. STATEMENT OF CLAIMS UNDER THE FAIR LABOR STANDARDS ACT

       23.     Baker incorporates herein by reference paragraphs 1 through 22 above.

       24.     Defendant Around the Clock Care is an “enterprise,” as that term is defined by

the FLSA, covered by the overtime and minimum wage provisions of the FLSA. Defendant

Around the Clock Care is an “employer,” as that term is defined by the FLSA. Finally,

Defendant Around the Clock Care is a “person” as that term is defined by the FLSA.

       25.      Around the Clock Care violated Baker’s and her coworker caregivers’ rights to

be properly paid overtime wages in a manner required by the FLSA. Specifically, Baker and her

coworker caregivers are non-exempt employees and Around the Clock Care was required to pay

Baker and her coworker caregivers for each hour each worked and pay each at an overtime

premium rate for any and all hours worked each week in excess of forty (40).

       26.     Around the Clock Care’s failure to comply with the FLSA’s provisions regarding

overtime compensation is willful and without justification.

       27.     Baker seeks all available damages, including unpaid wages, unpaid overtime

compensation, liquidated damages, payment of reasonable attorney’s fees, costs and expenses,



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and any and all other damages to which they may be entitled for Around the Clock Care’s

violations of the Fair Labor Standards Act.

                                    VI. PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Brianna D. Baker respectfully requests that the Court enter

judgment against Defendant Morgan Graham, Inc. d/b/a Around the Clock Care, holding

Defendant liable to Baker and all opt in plaintiffs for violations of the FLSA, and issue to them

all available relief, including, but not limited to, the following:

        1.      All damages available under the FLSA, including all unpaid overtime wages, all

                liquidated damages, and payment of all reasonable attorney’s fees, costs and

                expenses;

        2.      Costs;

        3.      Pre-judgment interest, if available; and

        4.      Any and all other relief just and proper in the premises.



                                                Respectfully submitted,

                                                HASSLER KONDRAS MILLER LLP

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